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 8
 9
10                               UNITED STATES DISTRICT COURT

11                                   DISTRICT OF ARIZONA

12    United States of America,
                                                                  CV_____________
13                  Plaintiff,
                                                                    COMPLAINT
14           v.
15    AZ Prime One Mortgage Corporation,
      Kimberly Callan, Brian Ramsey
16
                    Defendants.
17
18          Plaintiff, the United States of America, through its undersigned attorneys, files its

19   original complaint against Defendants AZ Prime One Mortgage Corporation (“Prime One”),

20   Kimberly Callan, and Brian Ramsey for the recovery of a monetary forfeiture penalty of

21   $30,000.00, and alleges upon information and belief as follows:

22                                       INTRODUCTION

23          1.     This is a civil action brought by the United States, on behalf of the Federal

24   Communications Commission (“FCC”) pursuant to the Communications Act of 1934, 47

25   U.S.C. § 504(a), alleging violations of section 64.1200(c)(2) of the FCC’s rules, 47 C.F.R.

26   § 64.1200(c)(2), by Defendants named below, Prime One, Kimberly Callan, and Brian

27   Ramsey (collectively referred to as “Defendants”), for delivery of telephone solicitations to

28   residential telephone numbers contained in the National Do-Not-Call Registry. The United
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 1   States seeks the recovery of forfeiture penalties assessed by the FCC on June 16, 2009 and
 2   June 29, 2010, and other relief for Defendants’ violations of the FCC’s rules.
 3                                 JURISDICTION AND VENUE
 4   2.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331, 1345, and
 5   1355 and 47 U.S.C. § 504(a).
 6   3.      Venue is proper in the District of Arizona pursuant to 28 U.S.C. §§ 1355(b), 1391(b),
 7   1395(a) and 47 U.S.C. § 504(a), because the principal operating office of Defendant Prime
 8   One is located in Scottsdale, Arizona, a location within this District, Defendants Callan and
 9   Ramsey reside within this District, and some of the acts or omissions giving rise to this civil
10   action occurred within this District. 47. U.S.C. § 504(a) provides, inter alia, that “[t]he
11   forfeitures provided for in this chapter shall be payable into the Treasury of the United
12   States, and shall be recoverable . . . in a civil suit in the name of the United States brought
13   in the district where the person or carrier has its principal operating office or in any district
14   through which the line or system of the carrier runs . . . .”
15                                             PARTIES
16   4.      Plaintiff is the United States of America.
17   5.      The FCC is an independent federal regulatory agency created by Congress to regulate
18   intrastate, interstate, and foreign radio communications pursuant to the Communications Act
19   of 1934, as amended (“Act”), 47 U.S.C. § 151 et seq.
20   6.      Upon information and belief, during the relevant time period when violations giving
21   rise to this action occurred, Defendant Prime One was a full service mortgage company.
22   Prime One also did business as Prime One Mortgage Corporation and HomePlaceLoans.com.
23   Prime One had offices located at 14624 N. Scottsdale Road, Suite 120, Scottsdale, Arizona
24   85254, a location within this District.
25   7.      Defendant Kimberly Callan was an executive officer of Prime One. At all times
26   relevant to this action, she was also a director of Prime One. As an officer and director of
27
28                                                  2
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 1    Prime One, Callan managed, controlled, and directed the activities of Prime One.1                                    Callan
 2    is a resident of the state of Arizona who may be found at 14624 N. Scottsdale Road, Suite
 3    120, Scottsdale, Arizona 85254, a location within this District.
 4    8.          Defendant Brian Ramsey was an executive officer of Prime One. At all times relevant
 5    to this action, he was also a director of Prime One. As an officer and director of Prime One,
 6    Ramsey managed, controlled, and directed the activities of Prime One. Ramsey is a resident
 7    of the state of Arizona who may be found at 14624 N. Scottsdale Road, Suite 120,
 8    Scottsdale, Arizona 85254, a location within this District.
 9                         STATUTORY AND REGULATORY BACKGROUND
10    9.          Section 64.1200(c)(2) of the FCC’s rules, 47 C.F.R. § 64.1200(c)(2), generally
11    prohibits the delivery of telephone solicitations to residential phone numbers that are
12    contained in the National Do-Not-Call Registry, except in certain limited situations not
13    relevant here.2         Under the Communications Act of 1934, as amended, a “telephone
14    solicitation” means “the initiation of a telephone call or message for the purpose of
15    encouraging the purchase or rental of, or investment in, property, goods, or services, which
16    is transmitted to any person.” 47 U.S.C. § 227(a)(3); see also 47 C.F.R. § 64.1200(f)(12).3
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18
              1
                 The two Notices of Apparent Liability (“NAL”), see infra ¶¶ 16–23, issued by the FCC to Prime One specifically
19   recognized that all references to “AZ Prime One” in the NALs also encompassed Defendants Kimberly Callan, Brian Ramsey,
     and all other principals or officers of Prime One. See AZ Prime One Mortgage Corp., 23 FCC Rcd 1964, 1964 n.2 (Enf. Bur.
20   2008); AZ Prime One Mortgage Corp., 23 FCC Rcd 7195, 7195 n.2 (Enf. Bur. 2008).
               2
                  Under the FCC’s rules, a telephone solicitation to a residential phone number on the National Do-Not-Call
21   Registry is not prohibited if (1) the called party has provided signed, written consent for the call to be made; or (2) the call
     is made by a person who has a personal relationship with the called party, See 47 C.F.R. § 64.1200(c)(ii)-(iii). A
22   telemarketing call to a telephone number on the National Do-Not-Call Registry is also not prohibited if the promotional call
     does not fall within the definition of “telephone solicitation” under 47 C.F.R. § 64.1200(f)(12). See infra footnote 3.
23            3
                Although not relevant to the violations in this case, the definition of “telephone solicitation” specifically exempts
     certain promotional calls from the general prohibition of section 64.1200(c)(2). Under the FCC’s rules, a telephone
24   solicitation does not include a call or message where (1) the called party has provided signed, written consent for the call to
     be made; (2) the called party has an “established business relationship” with the caller, meaning that the called party has made
25   a purchase from, or had a transaction with, the caller within the eighteen months immediately preceding the call or has made
     an inquiry or application regarding the caller’s products or services within the three months preceding the call, and the called
26   party has not specifically asked the caller to stop all telemarketing calls; or (3) the call is made by or on behalf of a tax-exempt
     nonprofit group. 47 C.F.R. § 64.1200(f)(12); see also 47 C.F.R. § 64.1200(c)(2)(ii) (consent); 47 C.F.R. § 64.1200(f)(4)
27   (established business relationship).

28                                                                  3
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 1    10.         An entity is not liable for otherwise prohibited telephone solicitations made to
 2    telephone numbers on the National Do-Not-Call Registry if it is able to show that it has
 3    complied with the requirements of the regulatory safe harbor set out in section
 4    64.1200(c)(2)(i)(A)-(E) of the FCC’s rules, and that the telephone solicitation was the result
 5    of error. 47 C.F.R. § 64.1200(c)(2)(i). In order to comply with the safe harbor, a person or
 6    entity initiating a telephone solicitation must demonstrate that, as part of its routine business
 7    practice, it has: (1) established and implemented written procedures to comply with the do-
 8    not-call rules; (2) trained its personnel, and any entity assisting in its compliance, in the
 9    procedures established pursuant to the national do-not-call rules; (3) maintained and recorded
10    a list of telephone numbers that it may not contact; (4) used (and documented its use of) an
11    up-to-date version of the Do-Not-Call Registry obtained no more than thirty-one days 4
12    before any telephone solicitation is made; and (5) properly purchased access to the relevant
13    do-not-call data from the administrator of the national database and used a process to ensure
14    that the entity does not sell, rent, lease, purchase or use the do-not-call database for any
15    purpose except compliance with state or local laws. 47 C.F.R. § 64.1200(c)(2)(i)(A)-(E).
16    11.         Pursuant to section 503(b) of the Act, 47 U.S.C. § 503(b), any person whom the FCC
17    determines to have willfully or repeatedly failed to comply with the provisions of Chapter
18    5, Title 47 of the United States Code or any rule, regulation or order issued by the FCC shall
19    be liable to the United States for a forfeiture penalty.
20    12.         Section 503(b)(5) of the Act, 47 U.S.C. § 503(b)(5), authorizes the FCC to assess a
21    forfeiture penalty against any person who is not a common carrier so long as such person is
22    (A) first issued a citation of the violation charged; (B) given a reasonable opportunity for a
23
24
25
              4
                  Prior to January 1, 2005, entities were required to employ a version of the Do-Not-Call Registry that was
26   obtained no more than three months prior to the date any call was made. 47 C.F.R. § 64.1200(c)(2)(i)(D), note. This
     requirement ensures that entities honor do-not-call registrations within three months (prior to 2005) or thirty-one days (after
27   January 1, 2005) of an individual placing his or her telephone number in the Registry.

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 1   personal interview with an FCC official at the closest field office; and (C) subsequently
 2   engages in conduct of the type described in the citation.
 3   13.    Section 312(f)(1) of the Act, which applies to violations for which forfeitures are
 4   assessed under section 503(b), provides that “[t]he term ‘willful,’ when used with reference
 5   to the commission or omission of any act, means the conscious and deliberate commission
 6   or omission of such act, irrespective of any intent to violate any provision of this Act or any
 7   rule or regulation of the Commission authorized by this Act.” 47 U.S.C. § 312(f)(1). Section
 8   312(f)(2) of the Act, which also applies to violations for which forfeitures are assessed under
 9   section 503(b), provides that “[t]he term ‘repeated,’ when used with reference to the
10   commission or omission of any act, means the commission or omission of such act more than
11   once, or, if such commission or omission is continuous, for more than one day.” 47 U.S.C.
12   § 312(f)(2).
13                                  THE INITIAL VIOLATION
14   14.    On January 30, 2006, the FCC received a complaint from an individual alleging that
15   Defendants, or an entity acting on behalf of Defendants, placed a telemarketing call to a
16   telephone number that had been listed in the National Do-Not-Call Registry for at least
17   thirty-one (31) days prior to the solicitation.
18   15.    On February 28, 2007, in response to the consumer complaint alleging that
19   Defendants had made a telephone solicitation to a residential telephone number listed on the
20   National Do-Not-Call Registry, the FCC Enforcement Bureau issued a citation to Defendants
21   for violation of section 64.1200(c)(2) of the FCC’s rules. Citation to AZ Prime One
22   Mortgage Corp., 22 FCC Rcd 12478 (Enf. Bur. 2007) (“Citation”), attached as Exhibit A.
23   The Citation, which included copies of the consumer complaint, warned Defendants that
24   subsequent violations could result in the imposition of monetary forfeitures of up to $11,000
25   per violation. Id. The Citation informed Defendants that within thirty (30) days of the date
26   of the Citation, they could either request an interview with FCC staff or submit a written
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28                                                     5
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 1   statement responding to the Citation. Id. Defendants did not request an interview or
 2   otherwise respond to the Citation.
 3                        FIRST NOTICE OF APPARENT LIABILITY
 4   16.    On May 15, 2007, the FCC received a complaint from a different individual alleging
 5   that Defendants delivered telephone solicitations to her residential phone number, which had
 6   been registered on the National Do-Not-Call Registry at least thirty-one days prior to
 7   receiving the telemarketing call. The telephone solicitation was made after Defendants had
 8   previously received the Citation for such practices.
 9   17.    On February 15, 2008, the FCC Enforcement Bureau issued a Notice of Apparent
10   Liability for Forfeiture (the “First Notice”) to Defendants in the amount of $10,000.00 for
11   the apparent willful or repeated violations of section 64.1200(c)(2) of the FCC’s rules, 47
12   C.F.R. § 64.1200(c)(2), by making a telephone call for the purpose of delivering telephone
13   solicitations to a residential consumer who had registered her telephone number on the
14   National Do-Not-Call Registry, after Defendants had received a Citation for such practices.
15   AZ Prime One Mortgage Corp., 23 FCC Rcd 1964 (Enf. Bur. 2008). The FCC sent copies
16   of the First Notice to Defendants by Certified Mail, return receipt requested. A copy of the
17   First Notice is attached as Exhibit B.
18   18.    The First Notice ordered Defendants to pay the full amount of the proposed forfeiture,
19   or to file a written statement seeking reduction or cancellation of the proposed forfeiture,
20   within thirty (30) days of the date of the First Notice.
21   19.    The FCC did not receive a response to the First Notice.
22                      SECOND NOTICE OF APPARENT LIABILITY
23   20.    On May 9, 2007 and May 12, 2007, the FCC received complaints from two different
24   individuals alleging that Defendants delivered telephone solicitations to each of them. Both
25   individuals had registered their telephone numbers on the National Do-Not-Call Registry at
26   least thirty-one days prior to receiving the telemarketing calls. Each telephone solicitation
27   was made after Defendants had previously received the Citation for such practices.
28                                                  6
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 1   21.      On May 2, 2008, the FCC Enforcement Bureau issued a second Notice of Apparent
 2   Liability for Forfeiture (the “Second Notice”) to Defendants in the amount of $20,000.00 for
 3   the apparent willful or repeated violations of section 64.1200(c)(2) of the FCC’s rules, 47
 4   C.F.R. § 64.1200(c)(2), by making telephone calls for the purpose of delivering telephone
 5   solicitations to residential consumers who had registered their telephone numbers on the
 6   National Do-Not-Call Registry, after Defendants had received a Citation for such practices.
 7   AZ Prime One Mortgage Corp., 23 FCC Rcd 7195 (Enf. Bur. 2008). The FCC sent copies
 8   of the Second Notice to Defendants by Certified Mail, return receipt requested. A copy of
 9   the Second Notice is attached as Exhibit C.
10   22.      The Second Notice ordered Defendants to pay the full amount of the proposed
11   forfeiture, or to file a written statement seeking reduction or cancellation of the proposed
12   forfeiture, within thirty (30) days of the date of the Second Notice.
13   23.      The FCC did not receive a response to the Second Notice.
14                                 FIRST FORFEITURE ORDER
15   24.      On June 16, 2009, the FCC issued a Forfeiture Order (“2009 Order”) in the amount
16   of $10,000.00 against Defendants for willful or repeated violations of section 64.1200(c)(2)
17   of the FCC’s rules, 47 C.F.R. § 64.1200(c)(2), by making a telephone call for the purpose
18   of delivering a telephone solicitation to a residential telephone consumer who had registered
19   her telephone number on the National Do-Not-Call Registry, after Defendants had received
20   a Citation for such practices. AZ Prime One Mortgage Corp., 24 FCC Rcd 8036 (Enf. Bur.
21   2009).
22   25.      The FCC sent copies of the 2009 Order to Defendants by Certified Mail, return receipt
23   requested, and by First Class Mail. The copies sent by regular First Class Mail were not
24   returned. A copy of the 2009 Order is attached as Exhibit D.
25                                SECOND FORFEITURE ORDER
26   26.      On June 29, 2010, the FCC issued a second Forfeiture Order (“2010 Order”) in the
27   amount of $20,000.00 against Defendants for willful or repeated violations of section
28                                                  7
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 1   64.1200(c)(2) of the FCC’s rules, 47 C.F.R. § 64.1200(c)(2), by making two telephone calls
 2   for the purpose of delivering telephone solicitations to two residential telephone consumers
 3   who had registered their telephone numbers on the National Do-Not-Call Registry, after
 4   Defendants had received a Citation for such practices. AZ Prime One Mortgage Corp., 25
 5   FCC Rcd 7949 (Enf. Bur. 2010).
 6   27.    The FCC sent copies of the 2010 Order to Defendants by Certified Mail, return receipt
 7   requested, and by First Class Mail. The copies sent by regular First Class Mail were not
 8   returned. A copy of the 2010 Order is attached as Exhibit E.
 9                                     CLAIM FOR RELIEF
10   28.    Plaintiff repeats and re-alleges each and every allegation set forth in paragraphs 1
11   through 27 above.
12   29.    Defendants willfully or repeatedly violated section 64.1200(c)(2) of the FCC’s rules,
13   47 C.F.R. § 64.1200(c)(2), by making at least three telephone calls for the purpose of
14   delivering telephone solicitations to three residential telephone consumers who had
15   registered their telephone numbers on the National Do-Not-Call Registry, after having been
16   issued a Citation apprising Defendants that they had violated section 64.1200(c)(2) of the
17   FCC’s rules for the same type of conduct.
18   30.    By reason of the foregoing, Defendants are liable to the United States for a forfeiture
19   penalty pursuant to 47 U.S.C. § 503(b), section 1.80 of the Commission’s Rules (“Rules”),
20   47 C.F.R. § 1.80, and the Commission’s Forfeiture Policy Statement and Amendment of
21   Section 1.80 of the Rules to Incorporate the Forfeiture Guidelines, 12 FCC Rcd 17087
22   (1997), recon. denied, 15 FCC Rcd 303 (1999). A certificate of forfeiture is attached hereto
23   as Exhibit F.
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 1          WHEREFORE, Plaintiff demands judgment against Defendants, jointly or severally,
 2   as follows:
 3          a.     Judgment in the amount of $30,000.00;
 4          b.     Interest from the date of judgment at the legal rate in effect on the date of
 5   judgment, pursuant to 28 U.S.C. § 1961.
 6          c.     Costs and disbursements incurred by Plaintiff in this action; and
 7          d.     Such other further relief that the Court may deem just and proper.
 8
 9          Respectfully submitted this 7th Day of May, 2012.
10
                                                      ANN BIRMINGHAM SCHEEL
11                                                    Acting United States Attorney
12                                             By:    ________________________________
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 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on May 7, 2012, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the following CM/ECF registrants:
 5
 6
 7   s/Mary C. Bangart
     U.S. Attorney’s Office
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